Case 1:01-cr-00382-REJ Document 491 Filed 12/17/13 Page 1 of 7   PageID #: 1240




FLORENCE T. NAKAKUNI #2286
United States Attorney
District of Hawaii

LESLIE E. OSBORNE, JR. #3740
Chief, Criminal Division

THOMAS J. BRADY #4472
Assistant U.S. Attorney
Suite 6100, PJKK Federal Bldg.
300 Ala Moana Boulevard
Honolulu, Hawaii   96850
Telephone: (808) 541-2850
Facsimile: (808) 541-2958
Email: Tom.Brady@usodj.gov

Attorneys for Plaintiff
UNITED STATES OF AMERICA

                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII


UNITED STATES OF AMERICA,     )           CV. NO. 13-00620 REJ
                              )           CR. NO. 01-00382 REJ
     Respondent,              )
                              )           GOVERNMENT'S RESPONSE TO
         vs.                  )           DEFENDANT'S MOTION UNDER 28
                              )           U.S.C. ' 2255 TO VACATE,
PACKWARD K. TOELUPE,          )           SET ASIDE, OR CORRECT SENTENCE;
                              )           EXHIBITS “A”–“C”; CERTIFICATE
     Defendant-Petitioner.    )           OF SERVICE
______________________________)

         GOVERNMENT'S RESPONSE TO DEFENDANT'S MOTION UNDER
     28 U.S.C. ' 2255 TO VACATE, SET-ASIDE OR CORRECT SENTENCE

            Respondent, the United States of America, by its

undersigned counsel, hereby responds and moves to dismiss Defendant

PACKWARD K. TOELUPES's (hereinafter "TOELUPE" or "Defendant") second
Case 1:01-cr-00382-REJ Document 491 Filed 12/17/13 Page 2 of 7   PageID #: 1241




Motion under 28 U.S.C. ' 2255 to Vacate, Set-Aside or Correct

Sentence.

            The Government respectfully requests that this Court

dismiss TOELUPE’s second Motion under 28 U.S.C. ' 2255 to Vacate,

Set-Aside or Correct Sentence as his allegations are premised upon

legal arguments that have already been addressed and denied by this

Court as well as the Ninth Circuit Court of Appeals.             In addition

to by untimely, these arguments are also patently frivolous and

without merit.

I.    PROCEDURAL BACKGROUND

            As this Court was the trial court as well as the Court that

addressed TOELUPE’s initial Motion under 28 U.S.C. ' 2255 to Vacate,

Set-Aside or Correct Sentence, filed on May 10, 2010, it is well

familiar with the procedural background.          The Government herein

incorporates this Court’s Opinion and Order filed October 26, 2010

which succinctly addresses the procedural background of this case.

See Exhibit “A.”

            As to TOELUPE’s initial Motion under 18 U.S.C. § 2255, on

June 15, 2011, this Court issued its Order Denying a Certificate of

Appealability as TOELUPE had not made a substantial showing of a

denial of a constitutional right.         See Exhibit “B.”   On October 27,

2011, the Ninth Circuit Court of Appeals filed its own order denying



                                      2
Case 1:01-cr-00382-REJ Document 491 Filed 12/17/13 Page 3 of 7   PageID #: 1242




TOELUPE’s request for certificate of appealability and denied all

pending motions as moot.       See Exhibit “C.”

            More than two years later, TOELUPE files his present

motion, his second Motion under 28 U.S.C. ' 2255 to Vacate, Set-Aside

or Correct Sentence.      As in the past appeals and ' 2255 motion,

TOELUPE again raises allegations of violations of his Fifth and Sixth

Amendment rights by this Court’s use of “acquitted conduct,” and the

standards used in resolving factual disputes at sentencing.          Relying

inappropriately on Alleyne V. United States, 133 S.Ct. 2151 (2013)

TOELUPE now seeks to have these same issues re-litigated.

      A.    TOELUPE's Reliance on Alleyne is Misplaced

            TOELUPE contends that his present claims are based on the

newly decided Supreme Court decision in Alleyne v. United States,

133 S.Ct. 2151 (2013).1      To be sure, Alleyne adopted a new

constitutional rule of criminal procedure, which, under Teague v.

Lane, 489 U.S. 288 (1989), is not retroactively applicable to cases

that became final before the decision was announced.


      1
        In Alleyne v. United States, 133 S.Ct. 2151 (2013), the
Supreme Court held that the constitutional rule announced in Apprendi
v. New Jersey, 530 U.S. 466 (2000), applies to facts that increase
the mandatory minimum punishment for a crime, and that under
Apprendi, any fact (other than the fact of a prior conviction) that
increases a mandatory minimum sentence "is an element" that must be
submitted to the jury and found beyond a reasonable doubt." 133
S.Ct. at 2155.


                                      3
Case 1:01-cr-00382-REJ Document 491 Filed 12/17/13 Page 4 of 7   PageID #: 1243




            Under Teague, new procedural rules do not apply

retroactively to cases on collateral review unless they qualify as

"watershed" rules implicating "the fundamental fairness and accuracy

of the criminal proceeding."        Saffle v. Parks, 494 U.S. 484, 495

(1990).    The Supreme Court had defined a "new rule" under Teague as

one that was not "dictated by precedent existing at the time the

defendant's conviction became final."         Graham v. Collins, 506 U.S.

461, 467 (1993) (quoting Teague, 489 U.S. at 301 (emphasis in

Teague)); see Sawyer v. Smith, 497 U.S. 227, 234 (1990).            The rule

announced in Alleyne was not dictated by prior precedent; rather,

Harris v. United States, 536 U.S. 545 (2002), dictated the opposite

result.    The Alleyne rule is procedural because unlike a substantive

rule, which "alters the range of conduct or the class of persons that

the law punishes," Alleyne=s holding "regulate[s] only the manner of

determining the defendant=s culpability."         Schriro v. Summerline,

542 U.S. 348, 353 (2004).      And like Apprendi itself, Alleyne did not

announce a "watershed" rule "without which the likelihood of an

accurate conviction is seriously diminished."         Schriro, 542 U.S. at

352 (quoting Teague, 489 U.S. at 313).2


      2
        Consistent with the reasoning in Schriro, the Ninth Circuit
Court of Appeals has held that because Apprendi is a procedural rule
that does not fall with the "watershed" exception, it is not
retroactively applicable to cases on collateral review. See United
States v. Sanchez-Cervantes, 282 F.3d 664 (9th Cir. 2002).

                                      4
Case 1:01-cr-00382-REJ Document 491 Filed 12/17/13 Page 5 of 7   PageID #: 1244




            1.    What the Decision in Alleyne Did Not Do

            Alleyne's holding that facts that increase mandatory

minimums must be treated as elements did not invalidate any criminal

statute.

            Alleyne also did not overrule Almendarez-Torres v. United

States, 523 U.S. 224 (1998), which held that prior conviction of a

crime may constitutionally be treated as a sentencing factor, rather

than as an element of the offense.        See Alleyne, 133 S.Ct. at 2160

n.1 (noting Almendarez-Torres exception to Apprendi rule).

            Finally, Alleyne did not affect the holding of United

States v. Booker, 543 U.S. 220 (2005), that sentencing courts may

make factual findings that increase a defendant's Sentencing

Guideline range, so long as the Guidelines are treated as advisory.

In this case, the mandatory minimums associated with the charged

offenses was not an issue as the amounts of methamphetamine that

TOELUPE was found guilty of by a jury placed him in a base offense

range well above the mandatory minimum term of 10 years, pursuant

to 21 U.S.C. ' 841(b)(1)(A).        Thus, Section 2255 motions, like

TOELUPE's, raising Alleyne claims are not timely under 2255(f)(3)

because, as explained above, the decision is not "retroactively

applicable to cases on collateral review."




                                      5
Case 1:01-cr-00382-REJ Document 491 Filed 12/17/13 Page 6 of 7   PageID #: 1245




II.   CONCLUSION

            Contrary to TOELUPE's assertion that the district court

violated his Fifth and Sixth Amendment rights, the record

demonstrates that the district court clearly did not violate any of

TOELUPE’s constitutional rights while considering all of the factors

set forth in Title 18 U.S.C. ' 3553(a) and concluded that TOELUPE's

original sentence was sufficient, but not greater than necessary to

comply with the purposes of Section 3553(a)(2). The Government

respectfully submits that TOELUPE's sentence was reasonable and

TOELUPE’s should be affirmed in its entirety.

            Furthermore, TOELUPE’s second Motion under 28 U.S.C.

' 2255 to Vacate, Set-Aside or Correct Sentence should be dismissed

as his allegations are premised upon legal arguments that have

already been addressed and denied by this Court as well as the Ninth

Circuit Court of Appeals.       In addition to being untimely, these

arguments are also patently frivolous and without merit.

            Dated:    December 17, 2013, at Honolulu, Hawaii.

                                    Respectfully submitted,

                                    FLORENCE T. NAKAKUNI
                                    United States Attorney
                                    District of Hawaii


                                    By /s/ Thomas J. Brady
                                      THOMAS J. BRADY
                                      Assistant U.S. Attorney

                                      6
Case 1:01-cr-00382-REJ Document 491 Filed 12/17/13 Page 7 of 7   PageID #: 1246




                          CERTIFICATE OF SERVICE

            I hereby certify that, on the dates and by the method of

service noted below, a true and correct copy of the foregoing was

served on the following at his last known address:

Served by Certified Mail:

PACKWARD KALEILANI TOELUPE                      December 17, 2013
#88240-022
FCI THREE RIVERS
FEDERAL CORRECTIONAL INSTITUTION
Inmate Mail/Parcels
P.O. BOX 4200
THREE RIVERS, TX 78071

            DATED:    December 17, 2013, at Honolulu, Hawaii.



                                            /s/ Janice Tsumoto
